                United States Court of Appeals
                                  For the First Circuit
                                     _____________________

No. 25-1138

                                  STATE OF NEW YORK, et al.,

                                        Plaintiffs, Appellees,

                                                  v.

      DONALD J. TRUMP, in his official capacity as President of the United States, et al.,

                                      Defendants, Appellants.
                                      __________________

                                               Before

                                      Barron, Chief Judge,
                            Montecalvo and Rikelman, Circuit Judges.
                                     __________________

                                      ORDER OF COURT
                                    Entered: February 11, 2025

                 On January 31, 2025, the United States District Court for the District of Rhode
Island issued an order granting the plaintiffs' Motion for a Temporary Restraining Order ("TRO").
On February 6, 2025, the District Court entered a text order extending the TRO. And, on February
10, 2025, the District Court granted the plaintiffs' Motion for Enforcement of the Temporary
Restraining Order ("February 10 Order"). The defendants have appealed these orders. They have
also filed with this Court two motions (contained within a single document) for, respectively, (1)
a stay pending appeal, which they ask us to resolve by February 14, 2025, and (2) an administrative
stay pending resolution of their motion for a stay pending appeal.1 The sole motion we address in
this order is the motion for an administrative stay.

                This Circuit has not addressed whether or when an administrative stay of the sort
being requested here may be issued, and there is well-recognized uncertainty as to what standards
guide the decision to issue one or not. See United States v. Texas, 144 S. Ct. 797, 798 (2024)
(Barrett, J., concurring). Here, the defendants have requested a stay pending appeal from the
District Court, which has not yet ruled on their motion. See Fed. R. App. P. 8(a)(1)(A) ("A party

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        The defendants also state that "[e]ven if this Court were to conclude that the order is
unappealable, the Court should exercise its discretion to treat this motion as a petition for a writ of
mandamus."
must ordinarily move first in the district court for . . . a stay of the judgment or order of a district
court pending appeal . . . ."); id. 8(a)(2)(A)(ii) (requiring, in the absence of a showing that "moving
first in the district court would be impracticable," that the party moving for a stay pending appeal
must "state that . . . the district court denied the motion or failed to afford the relief requested and
state any reasons given by the district court for its action"). Moreover, a centerpiece of the dispute
between the parties in this appeal concerns the proper way to construe the February 10 Order.
Finally, insofar as we have jurisdiction to consider this request for an administrative stay arising
out of a temporary restraining order, cf. Off. of Pers. Mgmt. v. Am. Fed'n of Gov't Emps., AFL-
CIO, 473 U.S. 1301, 1306 (1985) (Burger, C.J., in chambers) ("[S]ince the Court of Appeals was
without jurisdiction over the appeal from the District Court's order denying the temporary
restraining order, the motions panel was necessarily without authority to grant such a stay."), the
defendants do not cite any authority in support of their administrative stay request or identify any
harm related to a specific funding action or actions that they will face without their requested
administrative stay.

                In these circumstances, we assume we have jurisdiction, see Doe v. Town of
Lisbon, 78 F.4th 38, 44-45 (1st Cir. 2023), and deny the motion for an administrative stay without
prejudice. We are confident the District Court will act with dispatch to provide any clarification
needed with respect to, among other things, the defendants' contention that the February 10 Order
"bars both the President and much of the Federal Government from exercising their own lawful
authorities to withhold funding without the prior approval of the district court." We note in this
regard the plaintiffs' statement in their Opposition to Defendants' Motion for Administrative Stay
Pending Appeal that, consistent with the TRO, the February 10 Order "does not stop defendants
from limiting access to funds without any 'preclearance' from the district court 'on the basis of the
applicable authorizing statutes, regulations, and terms.'" The parties may file any further
memoranda in support of their positions on the motion for a stay pending appeal in this court by
5:00 PM on Thursday, February 13, 2025.

                                                               By the Court:

                                                               Anastasia Dubrovsky, Clerk


cc: Hon. John J. McConnell, Hanorah Tyer-Witek, Clerk, United States District Court for the
District of Rhode Island, Zachary A. Cunha, Eric Dean McArthur, Daniel Tenny, Brett Allen
Shumate, Daniel S. Schwei, Brian James Springer, Andrew F. Freidah, Eitan R. Sirkovich,
Freedom Cheteni, Kathryn M. Sabatini, Michael J. Myers, Rabia Muqaddam, Sarah Rice, Mark
Stephen Grube, Leonard Giarrano IV, Colleen K. Faherty, Molly Thomas-Jensen, Zoe Levine,
Christine Chuang, Christopher J. Kissel, Kenneth J. Sugarman, Lara Haddad, Marie E. Logan,
Nicholas R. Green, Theodore McCombs, Laura Faer, Carly J. Munson, Alex Hemmer, Jeremy
Feigenbaum, Angela Cai, Shankar Duraiswamy, Katherine B. Dirks, Turner Smith, Anna Esther
Lumelsky, Joshua Bendor, Nathan T. Arrowsmith, Shannon Wells Stevenson, Jill Lacedonia,
Michael Kenneth Skold, Vanessa L. Kassab, Andrew C. Mendrala, David D. Day, Kalikoonalani
D. Fernandes, Jason David Anton, Adam D. Kirschner, Neil Giovanatti, Linus Banghart-Linn,
Elizabeth Kramer, Heidi Parry Stern, Daniel P. Mosteller, Anjana Samant, Christina L. Beatty-
Walters, Jonathan T. Rose, Andrew R.W. Hughes, Leah Brown, Aaron Bibb, Arthur West

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